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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Roadget Business Pte. Ltd.
                                                             Plaintiff,
v.                                                                         Case No.:
                                                                           1:24−cv−04935
                                                                           Honorable
                                                                           Manish S. Shah
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto, et al.
                                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 6, 2024:


        MINUTE entry before the Honorable Manish S. Shah: Plaintiff has filed an
amended complaint in response to the motion to dismiss. The motion to dismiss [45] is
terminated as moot. Defendants shall respond to the amended complaint by 8/27/24. The
parties shall file a joint status report proposing a case schedule by 9/6/24. Mailed notice
(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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